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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE: MIDLAND CREDIT                                  Case No. 11-md-2286-MMA (MDD)
     MANAGEMENT, INC., TELEPHONE
12
     CONSUMER PROTECTION ACT                                ORDER OVERRULING
13   LITIGATION                                             OBJECTION BY PLAINTIFF
                                                            ARORA TO MAGISTRATE
14
                                                            JUDGE’S ORDER AND
15                                                          OVERRULING PLAINTIFF
                                                            MARTIN, et al.’s OBJECTION TO
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                                                            MAGISTRATE JUDGE’S ORDER
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                                                            [Doc. Nos. 815, 821]
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22           Two objections to the Magistrate Judge’s orders are pending before the Court
23   regarding discovery in this multidistrict litigation (“MDL”). See Doc. Nos. 815, 821.1
24   First, Plaintiff Ashok Arora (“Arora”), proceeding pro se, objects to the Magistrate
25   Judge’s “Order (Doc 811) denying Plaintiff’s requests to take deposition and discovery of
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      All citations refer to the pagination assigned by the CM/ECF system. All docket references refer to the
28   docket of this MDL unless otherwise noted.

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 1   Noble Systems (Doc 790).” Doc. No. 815 at 1. Second, Plaintiffs Nicholas Martin
 2   (“Martin”), Jeremy Johnson (“Johnson”), and several others2 (collectively, “Martin, et
 3   al.”) object to the Magistrate Judge’s denial of their motion to compel requests for
 4   production (Doc. No. 812). See Doc. No. 821 at 5, 6, 13. Defendants Midland Funding
 5   LLC, Midland Credit Management, Inc., and Encore Capital Group, Inc. (collectively,
 6   “Defendants”) filed an opposition to Arora’s objection, and Arora replied. See Doc. Nos.
 7   823, 825. Defendants also filed an opposition to Martin, et al.’s objection, and Martin, et
 8   al. replied. See Doc. Nos. 822, 824. For the reasons set forth below, the Court
 9   OVERRULES Plaintiff Arora’s objection and OVERRULES Martin, et al.’s objection.
10                                                 I. BACKGROUND
11             Originating in 2011, the MDL comprises several dozen individual member cases
12   alleging that Defendants violated the Telephone Consumer Protection Act (“TCPA”).
13   See Doc. No. 1 at 1. Specifically, member Plaintiffs aver that Defendants placed debt
14   collection calls to member Plaintiffs’ cell phones using an automated system but without
15   the debtors’ consent. See id.; Doc. No. 571 at 1.
16             In December 2016, the Court entered an amended order granting final approval to
17   the nationwide class-action settlement between then-lead Plaintiffs, class members, and
18   Defendants—for a class period from November 2, 2006 through August 31, 2014. See
19   Doc. No. 434. The settlement resolved only eight member cases. See id. at 25. Several
20   member Plaintiffs opted out of the class and other member Plaintiffs alleged receiving
21   autodialed telephone calls from Defendants on or after September 1, 2014.
22             In October 2017, Plaintiffs Curtis Bentley and William Baker filed a consolidated
23   amended complaint with class allegations involving calls after September 1, 2014. See
24   Doc. No. 538. Defendants answered the consolidated amended complaint in December
25   2017. See Doc. No. 549. The Court struck Fair Debt Collection Practices Act claims
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         The full list of member Plaintiffs that join the motion is located at Doc. No. 821 at 13–16.

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 1   from the Consolidated Amended Complaint, Doc. No. 569, and stayed “all non-TCPA
 2   causes of action in all member cases pending remand of those cases to their original
 3   districts or resolution of this MDL,” Doc. No. 571 at 2.
 4         In January 2018, the Court ordered Defendants to respond to every member case
 5   complaint to initiate discovery. See Doc. No. 562. Further, at this Court’s suggestion,
 6   the United States Judicial Panel on Multidistrict Litigation (“JPML”) suspended JPML
 7   Rule 7.1(a) to bar further tag along cases from being transferred into the MDL. See
 8   JPML MDL No. 2286, Doc. No. 1074. Following an initial case management conference
 9   in April 2018, see Doc. No. 587, the Court ordered the parties to complete their Rule
10   26(f) conference and submit their Rule 26(f)(3) discovery plan, see Doc. No. 591. In
11   August 2018, the parties filed a joint motion to implement a plaintiff questionnaire, a
12   protective order, and to provide for certain preliminary discovery. See Doc. No. 603.
13   The Magistrate Judge ordered any objecting Plaintiff to file objections to the
14   questionnaire, see Doc. No. 604, and no Plaintiff objected, see Doc. No. 608 at 1. In
15   September 2018, the Magistrate Judge issued an order granting the joint motion
16   implementing the questionnaire process and production from Defendants. See id.
17         In December 2018, the Court permitted lead Plaintiffs Bentley and Baker to file a
18   Second Consolidated Complaint and to add Emir Fetai as an additional lead Plaintiff. See
19   Doc. Nos. 650, 651. In January 2019, the Court ordered lead Plaintiffs Baker and
20   Bentley to arbitration and stayed their individual member cases. See Doc. No. 669 at 17–
21   18. However, the Court allowed Fetai and his putative class to proceed. See id. at 18.
22         In June 2019, the Magistrate Judge found that sufficient time had passed for the
23   Plaintiff questionnaire process to be completed and moved to the deposition phase of
24   discovery. See Doc. No. 689 at 1. The Magistrate Judge ordered the parties to file a joint
25   status report regarding discovery and expected “confirmation that the questionnaire and
26   responsive discovery process [was] complete.” Id. at 1. He also ordered the parties to
27   meet and confer regarding a joint discovery plan and a proposed scheduling order for this
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 1   phase of discovery, a summary judgment motion deadline, and class certification motion
 2   deadline. See id. at 2.
 3         On September 4, 2019 and following the filing of the status reports, the Magistrate
 4   Judge issued an order setting discovery deadlines and limitations on discovery. See Doc.
 5   No. 702. Among other things, the order provided for the deposition of lead Plaintiff in
 6   the class action by October 25, 2019; the Rule 30(b)(6) deposition of Defendants by lead
 7   Plaintiff regarding calling technologies and practices after September 1, 2014, by
 8   November 22, 2019; the issuance of subpoenas to cellular carriers by individual
 9   Plaintiffs; certain meet and confer requirements regarding other depositions pertinent to
10   the post-September 1, 2014 Plaintiffs; and depositions and disputes regarding pre-
11   September 1, 2014 Plaintiffs. See id. at 8–9. Additionally, to address the lack of a
12   procedure for Plaintiffs having concerns regarding Plaintiff-specific discovery provided
13   by Defendants, the Magistrate Judge ordered Defendants to file a report containing the
14   list of member cases alleging calls before September 1, 2014; indicating the counsel
15   responsible for responding to individual Plaintiffs to discuss discovery concerns and
16   settlement; and indicating the counsel responsible for responding to individual Plaintiffs
17   regarding “[P]laintiff-specific discovery provided by Defendants during the questionnaire
18   process.” Id. at 7. The Court ordered Plaintiffs who remained dissatisfied with
19   Defendants’ production to bring the discovery dispute by December 2, 2019 and further
20   ordered the parties to meet and confer “regarding calling technologies and practices
21   during relevant time periods preceding September 1, 2014.” Id. at 9. Finally, the court
22   provided that “[a]ny motion for class certification and any motion for summary judgment
23   must be filed no later than January 24, 2020.” Id.
24         On December 16, 2019, the Magistrate Judge issued two discovery orders. See
25   Doc. Nos. 725, 726. In the first order, Plaintiffs Nicholas Martin and Jeremy Johnson,
26   sought to depose Defendants regarding calling practices and policies prior to September
27   1, 2014. See Doc. No. 725 at 1. The Magistrate Judge granted the motion; limited the
28   deposition to the periods January 1, 2008 through November 24, 2008, and January 1,

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 1   2013 through March 1, 2014; and ordered that the deposition occur no later than January
 2   31, 2020—provided that Plaintiffs’ counsel made arrangements for other relevant
 3   Plaintiffs to attend in person or remotely and suggest questions to counsel taking the
 4   deposition. See id. at 2–3. Plaintiffs took the deposition on January 28, 2020. See Doc.
 5   No. 803 at 5. In the second order, lead Plaintiff Fetai and fourteen fellow member
 6   Plaintiffs sought to depose two third parties—Alfred Collins and Noble Systems—and
 7   Defendants regarding calling technologies and practices for calls made prior to
 8   September 4, 2014. See Doc. Nos. 715 at 2, 7; Doc. No 726 at 1. The Magistrate Judge
 9   granted the order. See Doc. No. 726. The court allowed for the deposition of Defendants
10   as provided in the first order. See id. at 5–7. The Court further ordered that “corporate
11   deposition of Noble Systems Corporation must be obtained no later than January 31,
12   2020 and the deposition of Mr. Collins must be obtained no later than February 14,
13   2020.” Id. at 6. In addition to setting expert discovery deadlines, the Magistrate Judge
14   provided that “[a]ny motion for class certification and any motion for summary judgment
15   must be filed no later than June 12, 2020.” Id. at 7. However, “[t]he depositions of
16   Noble Systems and Mr. Collins did not proceed[,] and no party asked that the dates for
17   those depositions be extended.” Doc. No. 811 at 6.
18         On January 7, 2020, Plaintiffs Martin and Johnson and Defendants stipulated that
19   the deposition of Defendants regarding pre-September 1, 2014 calling practices and
20   policies would not be limited as provided in the court’s order (Doc. No. 725) but would
21   cover the entire pre-September 1, 2014 period. See Doc. No. 745. On January 31, 2020,
22   the Magistrate Judge granted in part Plaintiff Arora’s motion to compel additional
23   production from Defendants regarding call recording policies and proceedings. See Doc.
24   No. 754 at 3, 4; see also Doc. Nos. 737, 741, 753.
25         On April 27, 2020, the Magistrate Judge granted Plaintiffs Martin and Johnson and
26   Defendants’ joint motion stating their agreement that certain written discovery requests
27   were deemed served on Defendants, who agreed to accept service while reserving their
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 1   rights to object under the Federal Rules of Civil Procedure. See Doc. No. 773 at 3; Doc.
 2   No. 776 at 2.
 3         No party filed a motion for class certification or motion for summary judgment.
 4   No party moved to extend the time to file such motions. However, on June 12, 2020,
 5   lead Plaintiff Fetai and Defendants filed a joint notice of settlement. See Doc. No. 780.
 6   On June 29, 2020, the Court held a telephonic status conference to determine the status of
 7   the MDL as to the remaining member cases. See Doc. Nos. 782, 789. After the status
 8   conference, the Magistrate Judge ordered that “any discovery dispute regarding the April
 9   27, 2020 discovery order (Doc. No. 776) be brought to the Court’s attention on or before
10   July 15, 2020” and “[a]ny request for additional discovery must also be filed on or before
11   July 15, 2020.” Doc. No. 793 at 2.
12         On July 2, 2020, in response to a joint motion to dismiss, the Court dismissed
13   Bentley’s and Baker’s member cases. See Doc. No. 795. In the same order, the Court
14   also dismissed Fetai’s claims based on lack of jurisdiction. See id.
15         Meanwhile, Arora sought leave to obtain discovery and take depositions. See Doc.
16   No. 790. Specifically, Arora sought “to take a deposition of Noble Systems regarding
17   Noble dialers utilized by Defendants prior to Sept 1, 2014 and, if necessary, also
18   propound written discovery on it.” Id. at 2. Martin, Johnson, and other member
19   Plaintiffs then sought scheduling order changes and further discovery. First, they moved
20   to amend the scheduling order to extend fact discovery, expert discovery, Daubert
21   motion, and dispositive motion deadlines. See Doc. No. 801. Second, they and
22   Defendants filed a joint motion to determine a discovery dispute. See Doc. No. 802.
23   Plaintiffs sought leave to compel further responses to interrogatories and requests for
24   production, which included three requests for production that are now at issue. See id.
25   Third, Plaintiffs also sought “leave to take the Fed. R. Civ. P. 30(b)(6) depositions of
26   Defendants’ dialer providers Noble, Aspect (f/k/a Davox) and Livevox, Midland
27   employees involved with its dialers Mike Aronson and Kevin McLaughlin, whistleblower
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 1   Alfred Collins, and individuals listed in Collins’ complaint against Midland.” Doc. No.
 2   803 at 4.
 3         The Magistrate Judge ruled on these motions in two orders. See Doc. Nos. 811,
 4   812. In the first order, the Magistrate Judge denied Plaintiffs’ motion to amend the
 5   scheduling order because Plaintiffs “were not diligent in pursuing fact or expert
 6   discovery, in seeking extensions of deadlines or in seeking clarification of the Court’s
 7   Orders regarding discovery.” Doc. No. 811 at 8. As to the summary judgment deadline
 8   specifically, the Magistrate Judge found that “Plaintiffs have not demonstrated good
 9   cause to extend the summary judgment deadline.” Id. at 9. “In light of the Court’s ruling
10   declining to extend the discovery deadline,” the Magistrate Judge denied Arora’s and
11   Martin, Johnson, and other member Plaintiffs’ motions requesting leave to take
12   depositions and discovery of third parties. Id. In the second order, the Magistrate Judge
13   denied Plaintiffs’ motion to compel further responses to the interrogatories and requests
14   for production but ordered Defendants to provide responsive information to a few
15   requests for production that are not now at issue. See Doc. No. 812 at 14.
16         Member Plaintiffs have filed two timely objections to the Magistrate Judge’s
17   rulings. See Doc. Nos. 815, 821; see also Doc. No. 820. Arora objects to the Magistrate
18   Judge’s “Order (Doc 811) denying Plaintiff’s requests to take deposition and discovery of
19   Noble Systems (Doc 790).” Doc. No. 815 at 1. Martin, et al. object to the Magistrate
20   Judge’s order (Doc. No. 812) denying Plaintiffs’ request to compel written discovery.
21   See Doc. No. 821 at 3, 6, 13. Specifically, Martin, et al. object to the Magistrate Judge
22   denying their motion to compel requests for production numbered 14, 18, and 19. See id.
23                                     II. LEGAL STANDARD
24         A district judge’s review of a magistrate judge’s order on a nondispositive matter is
25   limited.
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27         When a pretrial matter not dispositive of a party’s claim or defense is
           referred to a magistrate judge to hear and decide, the magistrate judge must
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 1         promptly conduct the required proceedings and, when appropriate, issue a
           written order stating the decision. A party may serve and file objections to
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           the order within 14 days after being served with a copy. A party may not
 3         assign as error a defect in the order not timely objected to. The district judge
           in the case must consider timely objections and modify or set aside any part
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           of the order that is clearly erroneous or is contrary to law.
 5
 6   Fed. R. Civ. P. 72(a); see also 28 U.S.C. § 636(b)(1)(A) (“A judge of the court may
 7   reconsider any pretrial matter under this subparagraph (A) where it has been shown that
 8   the magistrate judge’s order is clearly erroneous or contrary to law.”); Grimes v. City &
 9   Cty. of San Francisco, 951 F.2d 236, 240 (9th Cir. 1991) (“The district court shall defer
10   to the magistrate’s orders unless they are clearly erroneous or contrary to law.”). The
11   objecting party carries the burden to show that the magistrate judge’s order is clearly
12   erroneous or contrary to law. Kinkeade v. Beard, No. 2:15-cv-01375-TLN-CDK, 2017
13   WL 2813037, at *1 (E.D. Cal. June 29, 2017) (first citing In re eBay Seller Antitrust
14   Litig., No. C 07-1882 JF (RS), 2009 WL 3613511, at *1 (N.D. Cal. Oct. 28, 2009); and
15   then citing Winz-Byone v. Metro. Life Ins. Co., No. EDCV 07-238-VAP (OPx), 2007 WL
16   4276751, at *1 (C.D. Cal. Nov. 16, 2007)).
17         The “clearly erroneous” prong “applies to factual findings and discretionary
18   decisions made in connection with non-dispositive pretrial discovery matters.” F.D.I.C.
19   v. Fid. & Deposit Co. of Maryland, 196 F.R.D. 375, 378 (S.D. Cal. 2000) (first citing
20   Computer Econ., Inc. v. Gartner Grp., Inc., 50 F. Supp. 2d 980, 983 (S.D. Cal. 1999);
21   and then citing Joiner v. Hercules, Inc., 169 F.R.D. 695, 697 (S.D. Ga. 1996)). The
22   standard, which “applies to a magistrate judge’s findings of fact, is ‘significantly
23   deferential, requiring “a definite and firm conviction that a mistake has been
24   committed.”’” Green v. Baca, 219 F.R.D. 485, 489 (C.D. Cal. 2003) (quoting Concrete
25   Pipe & Prod. of California, Inc. v. Constr. Laborers Pension Tr. for S. California, 508
26   U.S. 602, 623 (1993)). The reviewing district judge may not simply supplant his or her
27   own judgment in place of the deciding magistrate judge. Grimes, 951 F.2d at 241 (citing
28   United States v. BNS Inc., 858 F.2d 456, 464 (9th Cir. 1988)).

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 1         The “contrary to law” prong “permits independent review of purely legal
 2   determinations by the magistrate judge.” Fid. & Deposit Co. of Maryland, 196 F.R.D. at
 3   378 (first citing Computer Econ., Inc., 50 F. Supp. 2d at 983; and then citing Haines v.
 4   Liggett Grp. Inc., 975 F.2d 81, 91 (3d Cir. 1992)). “An order is contrary to law when it
 5   fails to apply or misapplies relevant statutes, case law, or rules of procedure.” Simmons
 6   v. Adams, No. 1:10-cv-01259-LJO-SKO PC, 2013 WL 5492767, at *1 (E.D. Cal. Oct. 1,
 7   2013) (quoting Knutson v. Blue Cross & Blue Shield of Minnesota, 254 F.R.D. 553, 556
 8   (D. Minn. 2008); Rathgaber v. Town of Oyster Bay, 492 F. Supp. 2d 130, 137 (E.D.N.Y.
 9   2007); Surles v. Air France, 210 F. Supp. 2d 501, 502 (S.D.N.Y. 2002)).
10         An order regarding a discovery dispute is generally a nondispositive matter. See
11   28 U.S.C. § 636(b)(1)(A); CivLR 72.1(b); Grimes, 951 F.2d at 240; Fid. & Deposit Co.
12   of Maryland, 196 F.R.D. at 378.
13                                        III. DISCUSSION
14   A. Arora’s Objection
15         As noted above, Arora objects to the Magistrate Judge’s “Order (Doc 811) denying
16   Plaintiff’s requests to take deposition and discovery of Noble Systems (Doc 790).” Doc.
17   No. 815 at 1. Arora “disputes” the Magistrate Judge’s conclusion that “Plaintiffs were
18   not diligent in pursuing fact or expert discovery, in seeking extensions of deadlines or in
19   seeking clarification of the Court’s Orders regarding discovery.” Id. at 2 (quoting Doc.
20   No. 811 at 8). To support his objection, Arora claims that minimal discovery progressed
21   in the “first ten months of 2019.” Id. at 3. Arora further asserts that “Noble Systems
22   deposition delays were the result of Defendants concealing the use of Maestro software,
23   failing to produce Maestro documents, and falsely claiming they had produced all
24   required documents in their response to discovery motion.” Id. at 5; see also id. at 3–5;
25   Doc. No. 825 at 2, 7–8.
26         Defendants respond that no party objected to the Magistrate Judge’s order denying
27   the motion to amend the scheduling order, which made the order final. Doc. No. 823 at
28   3. Because “the February 14, 2020 deadline to take the deposition had passed” before

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 1   Arora filed his motion and the Magistrate Judge did not amend the scheduling order,
 2   Defendants reason that the Magistrate Judge’s order denying Arora’s motion cannot be
 3   erroneous or contrary to law. Id. at 4. Defendants further assert “nothing Plaintiff Arora
 4   argues can give the Court a definite and firm conviction that a mistake has been made.”
 5   Id. They address five points to underscore their assertion. See id. at 4–6. First, Arora
 6   did not move to depose Noble until five months following the deadline, and when he did
 7   file his motion, he neglected to note the missed deadline or explain the delay. See id. at
 8   4. Second, neither Arora nor other Plaintiffs sought an extension to take Noble’s
 9   deposition before the deadline. See id. Third, neither Arora nor other Plaintiffs sought
10   clarification of the Magistrate Judge’s discovery orders. See id. at 5. Fourth, Arora’s
11   underlying motion did not demonstrate he had good cause to extend the deadline, acted
12   with diligence, or that he missed the deadline because of excusable neglect. Id. Fifth,
13   Arora’s proffered explanations in his objection fail to establish good cause and excusable
14   neglect. Id.
15         Arora has not carried his burden to show that the Magistrate Judge’s order is
16   clearly erroneous or contrary to law. As a preliminary matter, Arora does not appear to
17   object to a pure legal determination by the Magistrate Judge in the underlying order
18   denying leave to depose and propound discovery on Noble. Thus, the Court analyzes
19   Arora’s objection under the “clearly erroneous” prong.
20         Plaintiff Arora raises new arguments in his objection that he did not address in his
21   underlying motion. As in the present objection, Arora requested leave to depose and
22   propound written discovery on Noble. See Doc. No. 790 at 2. He originally argued that
23   “the dialer related documents . . . are highly inadequate” and Defendants’ responses at its
24   January 2020 deposition were also inadequate. Id. at 4. Arora’s present objection argues
25   that Noble’s “deposition delays were the result of Defendants concealing the use of
26   Maestro software, failing to produce Maestro documents, and falsely claiming they had
27   produced all required documents in their response to discovery motion.” Doc. No. 815 at
28   5. Arora asserts that Defendants withheld the Maestro documents until the June 2020

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 1   dispositive motion deadline as a “deliberate stratagem” to prevent summary judgment.
 2   Id. Arora did not raise his concealment and Maestro arguments in his original motion.
 3   Motions to reconsider a magistrate judge’s ruling “are not the place for parties to make
 4   new arguments not raised in their original briefs.” Hendon v. Baroya, No. 1:05-cv-
 5   01247-AWI-GSA-PC, 2012 WL 995757, at *1 (E.D. Cal. Mar. 23, 2012) (citing
 6   Zimmerman v. City of Oakland, 255 F.3d 734, 740 (9th Cir. 2001); see also Nw.
 7   Acceptance Corp. v. Lynnwood Equip., Inc., 841 F.2d 918, 925–26 (9th Cir. 1988)).
 8
 9         This Court’s function, on a motion for review of a magistrate judge’s
           discovery order, is not to decide what decision this Court would have
10
           reached on its own, nor to determine what is the best possible result
11         considering all available evidence. It is to decide whether the Magistrate
           Judge, based on the evidence and information before him, rendered a
12
           decision that was clearly erroneous or contrary to law.
13
14   Hendon, 2012 WL 995757, at *1 (emphasis added) (quoting Bare Escentuals Beauty, Inc.
15   v. Costco Wholesale Corp., No. 07-cv-90, 2007 WL 4357672, at *2 (S.D. Cal. Dec. 11,
16   2007); Paramount Pictures Corporatione et al., Plaintiff, v. Replay TV, et al.,
17   Defendants., No. CV 01-9358 FMC (Ex), 2002 WL 32151632, at *1 (C.D. Cal. May 30,
18   2002)). Thus, in determining whether the Magistrate Judge’s order was “clearly
19   erroneous,” the Court declines to entertain Arora’s new arguments. See Hendon, 2012
20   WL 995757, at *2 (“Thus, reconsideration must be denied to the extent it is based on new
21   arguments and evidence.”).
22         However, to the extent that his new argument relates to his claims in his original
23   motion that Defendants’ production was inadequate, those former claims undercut
24   Arora’s current objection. Arora’s original motion implied that he had knowledge of the
25   inadequacies of Defendants’ deposition and written discovery spanning back to when the
26   deposition occurred and when Defendants produced discovery. See Doc. No. 790 at 4.
27   Thus, this supports the Magistrate Judge’s finding that “Plaintiffs were not diligent in
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 1   pursuing fact or expert discovery, in seeking extensions of deadlines or in seeking
 2   clarification of the Court’s Orders regarding discovery.” Doc. No. 811 at 8.
 3         The Court finds that Arora has not carried his burden to leave this Court with the
 4   definite and firm conviction that the Magistrate Judge made a mistake. Accordingly, the
 5   Court OVERRULES Arora’s objection.
 6   B. Martin, et al.’s Objection
 7         Martin, et al. object to a portion of the Magistrate Judge’s order that declined to
 8   compel Defendants to respond to requests for production 14, 18, and 19. See Doc. No.
 9   821 at 3, 6, 13. Martin, et al. dispute the Magistrate Judge’s finding that the requests
10   were too broad and that they should have been made in the questionnaire process or the
11   questionnaire dispute resolution process. See id. at 6, 7–8; see also Doc. No. 824 at 2–6.
12   They further argue that the requests 18 and 19 are not vague and Defendants failed to
13   carry their burden to show vagueness. See Doc. No. 821 at 9. Martin, et al., assert that
14   the sought documents are discoverable and probative. See id. at 9–12; see also Doc. No.
15   824 at 6–8. Finally, they argue that their failure to take Collins’s deposition does not
16   defeat their document request. See Doc. No. 821 at 12–13; see also Doc. No. 824 at 8–9.
17         Defendants respond that the requests for production are “overly broad and vague.”
18   Doc. No. 822 at 10–13. They further claim the requests lack relevance. See id. at 13–15.
19   Defendants contend that the failure to depose Collins or include the request in the
20   questionnaire process defeats Martin, et al.’s assertion that the documents are highly
21   probative. See id. at 16–17. Finally, Defendants argue that “since Collins was the project
22   manager for the Palm Springs project, which was created at the direction and oversight of
23   Midland’s legal department in response to the onslaught of TCPA litigation, documents
24   relating to Collins[’s] involvement in that project are protected by the attorney-client
25   privilege and work product doctrine.” Id. at 18.
26         1. Request for Production No. 14
27         Request for production 14 stated the following: “Produce all documents
28   concerning any audit, investigation or other type of inquiry into TCPA compliance and/or

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 1   consent to make calls using a dialer.” Doc. No. 802 at 40. Defendants responded with
 2   attorney-client privilege and work product doctrine objections. Id. They contended that
 3   the production would disclose personal, confidential information. Id. Defendants further
 4   countered that the request was vague, ambiguous, “overly broad[,] and unduly
 5   burdensome.” Id. They finally objected on relevance and proportionality grounds. See
 6   id. In particular, Defendants argued that because the TCPA’s automated telephone
 7   dialing system (“ATDS”) definition is ambiguous, they could not have willfully or
 8   knowingly violated ethe TCPA. See id. at 43. The Magistrate Judge found the request
 9   overbroad—suggesting a possible temporal limitation—and declined to rewrite the
10   request. See Doc. No. 812 at 11. The Magistrate Judge further found that “to the extent
11   this constitutes common discovery, the matter could have and should have been raised
12   during the questionnaire process or in the dispute resolution process provided by the
13   Court.” Id.
14         Here, as to request 14, the Court finds that Martin, et al. have not persuaded the
15   Court that the Magistrate Judge made a fatal mistake as to factual findings or
16   discretionary decisions and have not pointed to a determination that was contrary to law.
17   The language of request 14 seeks production of “all documents” involving “any audit,
18   investigation or other type of inquiry into TCPA compliance and/or consent to make calls
19   using a dialer.” Doc. No. 802 at 40. However, the request was expressly qualified by a
20   temporal limiting instruction: “[u]nless otherwise specified in a particular paragraph, the
21   time period covered by these requests is October 12, 2007, to September 30, 2014.” Doc.
22   No. 773-1 at 2; see also Doc. No. 802 at 5. Although the Magistrate Judge may have
23   erred in finding a temporal limitation was necessary when the request already contained
24   one, the Court finds that the Magistrate Judge did not err in separately and independently
25   finding that the matter could and should have been raised during the questionnaire or
26   dispute resolution process.
27         Although the Magistrate Judge issued the parameters of common discovery, these
28   parameters originated from the parties’ own wishes. In the joint motion and subsequent

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 1   order implementing the Plaintiff questionnaire and providing for discovery, see Doc. Nos.
 2   603, 608, the production to be completed by Defendants—as designed by the parties—
 3   included information relating to Defendants’ dialing technology and practices. See Doc.
 4   No. 608 at 5–6. In Plaintiffs’ separate statement in the underlying joint motion at issue,
 5   Plaintiffs argued that the request regarding “any whistleblower . . . such as Collins” seeks
 6   documents ultimately relating to “Defendants’ dialers or consent practices.” Doc. No.
 7   802 at 58, 59; see also id. at 41.
 8         However, it does not appear Plaintiffs seized the opportunity to pursue discovery
 9   or otherwise seek resolution of a discovery dispute. Plaintiffs declined to seek such
10   discovery—when originally moving to depose Collins and Noble in December 2019—
11   despite also requesting documents directly from Collins, which the Court allowed with
12   some procedural requirements. See Doc. No. 715 at 2; Doc. No. 726 at 4. Moreover,
13   Plaintiff Martin further did not pursue the discovery even after his August 2019 status
14   report provided several documents he would request if he were to individually litigate the
15   case: “[a]ll documents and communications concerning any internal or external audits
16   and investigations concerning automated or prerecorded calls” and
17
18         [a]ll documents and communications concerning any employee or contractor
           of Midland or any affiliate thereof, that mentions use of a dialer or
19
           prerecorded message. This request is intended to encompass, for example,
20         ‘whistleblower’ communications where an employee raised Midland’s
           improper use of dialers to the attention of Midland or its affiliates.
21
22   Doc. No. 696 at 4. Plaintiffs further failed to follow up after a group of fourteen
23   Plaintiffs filed a status report the same day that requested third-party discovery, including
24   of a witness who was “a former terminated Midland employee that worked in the
25   collections department, and who is believed to have crucial information about internal
26   policies directly relevant to defendants’ compliance, or lack of compliance, with the
27   [TCPA].” Doc. No. 697 at 4. Thus, Martin, et al. had the opportunity to collect the
28   discovery from Defendants. They ultimately failed to do so and failed to seek resolution

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 1   of a dispute from the Magistrate Judge regarding dissatisfaction with Defendants’
 2   production.
 3         Although Martin, et al. accurately note that the questionnaire process was not the
 4   “end-all-be-all” for discovery and that there was no formal fact discovery closure date,
 5   see Doc. No. 821 at 8, they are correct merely to the extent that further discovery may be
 6   warranted after remand in the respective member cases’ transferor districts. However, for
 7   the purposes of discovery in this MDL, it was never the Court’s intent to prolong the
 8   MDL with repetitive phases of discovery. Such a process would defeat the objective to
 9   “promote the just and efficient conduct” of this MDL. See Doc. No. 1 at 1. Allowing
10   Plaintiffs to propound substantially similar discovery that they previously declined to
11   seek after failing to file a dispositive motion would undermine the goals of this MDL.
12   The Court declines Martin, et al.’s invitation to ensnare every member case in repetitive
13   discovery opportunities.
14         In sum, the Court finds that Martin, et al. have not carried their burden to show that
15   the Magistrate Judge’s order is clearly erroneous or contrary to law as to request for
16   production 14. Accordingly, the Court OVERRULES Martin, et al.’s objection to the
17   Magistrate Judge’s ruling regarding request for production 14.
18         2. Request for Production No. 18
19         Request for production 18 stated the following: “Produce all documents
20   concerning any whistleblower (or as Midland put it, ‘disgruntled employee’) such as
21   Alfred Collins, that relates in any way to your dialers or consent practices, without regard
22   to time. Include emails, text messages, letters and memoranda.” Doc. No. 802 at 58.
23   Defendants responded with attorney-client privilege and work product doctrine
24   objections. See id. They further argued that the request was vague, ambiguous, overly
25   broad, and overly burdensome. See id. The Magistrate Judge noted that despite
26   authorizing a deposition of Collins, as requested by fourteen individual Plaintiffs through
27   lead Plaintiff Fetai, Plaintiffs failed to take the deposition and failed to explain why they
28   did not do so. Doc. No. 812 at 12; see also Doc. Nos. 715, 726. The court then found

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 1   that “Plaintiffs did not pursue the opportunity provided by the Court in its September 4,
 2   2019 Order (ECF No. 702) to request this information from Defendants and seek Court
 3   resolution of any dispute.” Doc. No. 812 at 12. Finally, the Magistrate Judge found that
 4   other than the identification of Collins, the request was “vague and overbroad and its
 5   relevance to calls preceding September 1, 2014, is not obvious.” Id. at 12–13.
 6          Here, as to request 18, the Magistrate Judge did not err in finding that this matter
 7   should have been raised during the questionnaire and Defendant discovery production
 8   process or in the dispute resolution process for the same reasons outlined above regarding
 9   request 14.
10          Additionally, the Court agrees that the language of the request is overbroad. The
11   Magistrate Judge correctly noted the lack of temporal or any other limitation to meet Rule
12   34(b)(1)(A)’s particularity standard. Martin, et al. take issue with the Magistrate Judge’s
13   suggested temporal restriction of “calls made prior to September 1, 2014” for TCPA
14   compliance internal audits and investigations. See Doc. No. 821 at 7 (quoting Doc. No.
15   812 at 11). However, this was merely a possible “more appropriate inquiry.” Doc. No.
16   812 at 11. After all, as the Magistrate Judge noted, it is not the Court’s job to rewrite a
17   request for recommendation. See id. Regardless of any disagreements over the
18   Magistrate Judge’s suggested appropriate request, the issue remains that the request is
19   overbroad, especially in light of the “without regard to time” qualifier. See Doc. No. 802
20   at 65. A request lacking any “any temporal or other reasonable limitations is
21   objectionable on its face as overly broad.” Shuckett v. Dialamerica Mktg., Inc., No. 17-
22   cv-2073-LAB (KSC), 2018 WL 4350123, at *5 (S.D. Cal. Sept. 10, 2018). As currently
23   written, the request’s sweeping language is not sufficiently tailored to establish the
24   requisite sufficient particularity.
25          In sum, the Court finds that Martin, et al. have not carried their burden to show that
26   the Magistrate Judge’s order is clearly erroneous or contrary to law as to request for
27   production 18. Accordingly, the Court OVERRULES Martin, et al.’s objection to the
28   Magistrate Judge’s ruling regarding request for production 18.

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 1         3. Request for Production No. 19
 2         Request for production 19 stated the following: “Produce all audits, investigations
 3   and other documents that concern use of your dialers or the TCPA, without regard to
 4   time, including investigations and witness statements concerning the Collins matter.”
 5   Doc. No. 802 at 65. Defendants responded with attorney-client privilege and work
 6   product doctrine objections. Id. They also objected that the request was broad, unduly
 7   burdensome, not relevant, and not proportional. The Magistrate Judge did not enforce the
 8   request for the same reasons it denied request for production 18. See Doc. No. 812 at 13.
 9         Here, as to request 19, Martin, et al. have not persuaded the Court that the
10   Magistrate Judge made a mistake as to factual findings or discretionary decisions and
11   have not pointed to a determination that was contrary to law. The Court further finds the
12   Magistrate Judge’s decision is sound for the same reasons outlined above regarding
13   requests 14 and 18.
14         In sum, the Court finds that Martin, et al. have not carried their burden to show that
15   the Magistrate Judge’s order is clearly erroneous or contrary to law as to request for
16   production 19. Accordingly, the Court OVERRULES Martin, et al.’s objection to the
17   Magistrate Judge’s ruling regarding request for production 19.
18                                        IV. CONCLUSION
19         For the foregoing reasons, the Court the Court OVERRULES Plaintiff Arora’s
20   objection and OVERRULES Martin, et al.’s objection.
21         IT IS SO ORDERED.
22
23   Dated: November 4, 2020
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